                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE

PROGRESSIVE HAWAII            )
INSURANCE CORP.,              )
                              )
Plaintiff,                    )
                              )
v.                            )                       No: ________________
                              )
ROCKY TOP WRECKER SERVICE, )
PLLC, MONTEAGLE WRECKER       )
SERVICE, LLC, RODNEY KILGORE, )
CASSIE KILGORE, LARRY LAYNE, )
ASTRALEASE ASSOCIATES, INC,   )
SIGNATURE FINANCIAL, LLC,     )
LEMUEL JONES, and GEICO       )
CASUALTY COMPANY,             )
                              )
Defendants.                   )


                     COMPLAINT FOR DECLARATORY JUDGMENT

         Comes now Plaintiff, Progressive Hawaii Insurance Corp., through counsel, and for its

cause of action pursuant to 28 U.S.C. §§ 2201-2202 et seq. and Rule 57 of the Federal Rules of

Civil Procedure, states as follows:

                               I. PARTIES AND JURISDICTION

1.       Plaintiff is a corporation organized and existing under the laws of the state of Ohio with

its principal place of business in Ohio and no other state.

2.       Defendant Rocky Top Wrecker Service, PLLC is a Tennessee limited liability

corporation with its principal place of business in Tennessee and no other state. This Defendant

can be served through its registered agent Cassie Kilgore at 508 Forsite Ave., Monteagle, TN

37356.




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3.     Defendant Monteagle Wrecker Service, LLC is a Tennessee limited liability corporation

with its principal place of business in Tennessee and no other state. This Defendant can be

served through its agent Rodney Kilgore at 801 Dixie Lee Ave., Monteagle, TN 37356.

4.     Defendant Rodney Kilgore is a citizen and resident of Marion County, Tennessee and can

be served at 801 Dixie Lee Ave., Monteagle, TN 37356.

5.     Defendant Cassie Kilgore is a citizen and resident of Marion County, Tennessee can be

served at 508 Forsite Ave., Monteagle, TN 37356.

6.     Larry Layne is a citizen and resident of Grundy County, Tennessee can be served at 92

Second St., Monteagle, TN 37356.

7.     Defendant Astralease Associates, Inc. is a corporation organized and existing under the

laws of the state of New York with its principal place of business in Hauppauge, New York and

no other state. This Defendant can be served through its registered agent, Incorporating Services,

LTD, Inc., 922 Davidson Dr., Suite B, Nashville, TN 37205-1051.

8.     Defendant Signature Financial, LLC is a corporation organized and existing under the

laws of the state of New York with its principal place of business in Melville, New York and no

other state. This Defendant can be served through its registered agent, Corporation Service

Company, 2908 Poston Ave., Nashville, TN 37203-1312.

9.     Defendant Lemuel Jones is a citizen and resident of Jennings, Missouri and can be served

at his home address of 1925 Hildred, Jennings, Missouri, 63136.

10.    Defendant Geico Casualty Company is an insurance company organized and existing

under the laws of the state of Maryland with its principal place of business in Maryland and no

other state. This Defendant can be served through the Tennessee Commissioner of Insurance at

500 Deaderick Street, Nashville, Tennessee, 37219.



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11.     This court may exercise jurisdiction over this matter pursuant to 28 U.S.C. § 1332

because the matter in controversy exceeds the sum or value of $75,000.00, exclusive of interest

and costs, and is between citizens of different states. Venue is appropriate in this judicial district

pursuant to 28 U.S.C. § 1391 (2) because a substantial part of the events giving rise to the claim

occurred within this judicial district.

                             II. THE UNDERLYING LITIGATION

12.     On February 16, 2017, Lemuel Jones filed a Complaint in the Circuit Court for Marion

County Tennessee under docket number 21499. A copy of the Complaint is attached hereto as

Exhibit A.

13.     Within the Complaint, Lemuel Jones seeks to recover damages from Larry Edward

Layne, Monteagle Wrecker Service, LLC, Rodney Kilgore, Rocky Top Wrecker Service PLLC,

Cassie Kilgore, Astralease Associates, Inc., and Signature Financial, LLC. Geico Casualty

Company was made an unnamed party to the state court litigation pursuant to the Tennessee

Uninsured Motorist Insurance Act.

14.     The Complaint seeks recovery of personal injury damages against each Defendant in an

amount not to exceed $1,000,000.00.

15.     The Complaint alleges that on February 19, 2016 Lemuel Jones was injured when the

vehicle he was operating was struck by a vehicle driven in a negligent manner by Larry Layne.

16.     The Complaint alleges Larry Layne was driving within the course and scope of his

employment with Monteagle Wrecker Service, LLC, Rodney Kilgore, Rocky Top Wrecker

Service, PLLC and/or Cassie Kilgore at the time of the accident involving Lemuel Jones.




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17.    The Complaint alleges Monteagle Wrecker Service, LLC, Rocky Top Wrecker Service,

PLLC, Rodney Kilgore and Cassie Kilgore are liable to Lemuel Jones under the doctrine of

respondeat superior.

18.    The Complaint alleges Monteagle Wrecker Service, LLC, Rocky Top Wrecker Service,

PLLC, Rodney Kilgore, Cassie Kilgore, Astralease Associates, Inc., and/or Signature Financial,

LLC., are liable to Lemuel Jones by reason of their prima facie evidence of ownership of the

vehicle driven by Larry Layne pursuant to Tennessee Code Annotated § 55-10-311.

                            III. THE UNDERLYING ACCIDENT

19.    In the Complaint, it is alleged that a vehicular accident occurred involving vehicles

driven by Lemuel Jones and Larry Layne on February 19, 2016.

20.     Lemuel Jones alleges his 18 wheel semi-truck became stuck in gravel or mud and Larry

Layne responded to the stuck 18 wheel semi-truck in a 1987 Freightliner tow truck, VIN

1FVXYCY91HP314114.

21.    In the Complaint, Lemuel Jones alleges he was injured when Larry Layne attempted to

tow the 18 wheel semi-truck from the gravel or mud.

22.    The accident described herein occurred at 12:02 a.m. on February 19, 2016.

                              IV. THE INSURANCE POLICIES

23.    Plaintiff issued commercial auto policy number 02539908-0 (Rocky Top policy) to

Rocky Top Wrecker Service with a policy period of June 23, 2015 through June 23, 2016. A

copy of the policy is attached hereto as Exhibit B.

24.    The Rocky Top policy lists two insured vehicles, one of which is the 1987 Freightliner

tow truck driven by Larry Layne at the time of the alleged accident.

25.    Larry Layne is a listed driver within the Rocky Top policy.



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26.    The Rocky Top policy was canceled effective 12:01 a.m. on February 13, 2016 for non-

payment of premium.

27.    Plaintiff issued commercial auto policy number 02632676-0 (Monteagle policy) to

Rodney L. Kilgore, Monteagle Wrecker and Towing, with a policy period of August 21, 2015

through August 21, 2016. A copy of the policy is attached hereto as Exhibit C.

28.    The Monteagle policy lists eight vehicles and one non-owned attached trailer as insured

vehicles.

29.    The Monteagle policy does not include the 1987 Freightliner tow truck driven by Larry

Layne at the time of the alleged accident as an insured vehicle.

30.    The 1987 Freightliner tow truck driven by Larry Layne at the time of the alleged accident

is not an insured vehicle under the terms of the Monteagle policy.

31.    Both the Rocky Top policy and the Monteagle policy impose a duty upon the insured

persons or entities to promptly report each accident or loss even if they or the person seeking

coverage were not at fault.

32.    Larry Layne was attempting to tow the stuck 18 wheel semi-truck on behalf of Rocky

Top Wrecker Service, PLLC at the time of the accident alleged in the Complaint. The Rocky Top

Wrecker Service invoice No. 1361 attached hereto as Exhibit D reflects the service call made by

Larry Layne and the fact that no charge for the wrecker service was applied due to the damage

caused during the effort to tow the stuck 18 wheel semi-truck.

33.    Larry Layne was not attempting to tow the stuck 18 wheel semi-truck on behalf of

Monteagle Wrecker Service LLC at the time of the accident alleged in the Complaint.




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34.    Rodney Kilgore was not at the scene of the accident described in the Complaint, did not

have any employees working for him at the scene of the accident described in the Complaint and

did not own any of the equipment at the scene of the accident described in the Complaint.

35.    Monteagle Wrecker Service LLC, or any representative on its behalf, was not at the scene

of the accident described in the Complaint, did not have any employees working for it at the

scene of the accident described in the Complaint and did not own any of the equipment at the

scene of the accident described in the Complaint.

                                 V. CLAIM FOR COVERAGE

36.    Upon receiving notice of the Complaint, Cassie Kilgore, Rodney Kilgore, Rocky Top

Wrecker Service PLLC and Monteagle Wrecker Service, LLC called upon Plaintiff to provide

them with liability insurance coverage and a defense to the litigation pursuant to either the Rocky

Top policy or the Monteagle policy.

37.    Plaintiff reviewed the claim for coverage under the policies and issued reservation of

rights letters. The basis for the reservation of rights was the fact that the Rocky Top policy was

canceled for non-payment of premium prior to the date of the accident and the Monteagle policy

does not include the 1987 Freightliner tow truck driven by Larry Layne at the time of the alleged

accident as an insured vehicle under the schedule of listed vehicles or as an additional insured

vehicle under the policy. The reservation of rights letters are attached hereto as Exhibit E.

38.    The reservation of rights letters were also based upon the failure of Cassie Kilgore,

Rodney Kilgore, Rocky Top Wrecker Service, PLLC and Monteagle Wrecker Service, LLC to

provide notice of the accident to Plaintiff until eleven months after the occurrence of the

accident.




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                                 VI. STATEMENT OF CLAIM

39.    Plaintiff brings this action to obtain a judicial declaration that it owes no benefits or other

contractual obligations to or on behalf of any Defendant pursuant to the policies of insurance

identified herein for the accident identified in the Complaint filed by Lemuel Jones in the Circuit

Court for Marion County Tennessee.

40.    There exists no contractual or other basis upon which Plaintiff owes an obligation to

defend or indemnify any Defendant against the claims asserted in the Complaint filed by Lemuel

Jones in the Circuit Court for Marion County, Tennessee.

41.    The Rocky Top policy was canceled prior to the date of the accident.

42.    The Monteagle policy did not include the vehicle involved in the accident as an insured

vehicle.

43.    The Plaintiff was not provided prompt notice of the accident in violation of the duty to

report imposed by each policy.

                                  VII. PRAYER FOR RELIEF

       WHEREFORE, and pursuant to 28 U.S.C. §§ 2201-2202 et seq. and Rule 57 of the

Federal Rules of Civil Procedure, Progressive Hawaii Insurance Corp., brings this Declaratory

Judgment action so as to obtain a declaration from the Court as to its rights and obligations under

the policies identified herein. Plaintiff requests the Court Order that Plaintiff owes no obligation

to or on behalf of any Defendant as a result of the Complaint filed by Lemuel Jones in the Circuit

Court for Marion County, Tennessee. Plaintiff requests the Court grant it such further and

general relief as it may be entitled in these premises.




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                                   Respectfully submitted,

                                   FEENEY & MURRAY, P.C.


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